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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF FLORIDA
                                  Orlando Division


WYNDHAM VACATION OWNERSHIP, INC. a
Delaware corporation; WYNDHAM VACATION
RESORTS, INC., a Delaware corporation,
WYNDHAM          RESORT      DEVELOPMENT
CORPORATION; a Oregon Corporation; SHELL
VACATIONS, LLC, an Arizona limited liability
company; SVC-WEST, LLC, a California limited
liability company; SVC-AMERICANA, LLC, an COMPLAINT FOR DAMAGES AND
Arizona limited liability company; and SVC- INJUNCTIVE RELIEF
HAWAII, LLC, a Hawaii limited liability
company,

        Plaintiffs,

v.

THE MONTGOMERY LAW FIRM, LLC, a
Missouri      limited      liability   company;
MONTGOMERY & NEWCOMB, LLC, a
Missouri limited liability company; M. SCOTT
MONTGOMERY, ESQ., an individual; W.
TODD NEWCOMB, ESQ., an individual; CLS,
INC. d/b/a ATLAS VACATION REMEDIES and
also d/b/a PRINCIPAL TRANSFER GROUP, a
Missouri corporation; ATLAS VACATION
REMEDIES, LLC, a Missouri limited liability
company; PRINCIPAL TRANSFER GROUP,
LLC, a Missouri limited liability company;
DONNELLY SNELLEN, an individual; JASON
LEVI HEMINGWAY, an individual; MUTUAL
RELEASE CORPORATION a/k/a 417 MRC
LLC, a Missouri limited liability company; DAN
CHUDY, an individual; MATTHEW TUCKER,
an individual; and CATALYST CONSULTING
FIRM LLC, a Missouri limited liability company,

        Defendants.




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        Plaintiffs Wyndham Vacation Ownership, Inc. (“WVO”); Wyndham Vacation Resorts,

Inc. (“WVR”); Wyndham Resort Development Corporation (“WRDC”); Shell Vacations, LLC

(“SV”); SVC-West, LLC (“SVC-West”); SVC-Americana, LLC (“SVC-Americana”); and SVC-

Hawaii, LLC (“SVC-Hawaii”) (collectively, “Wyndham”), through counsel and pursuant to the

Federal Rules of Civil Procedure, hereby sue Defendants The Montgomery law Firm, LLC

(“Montgomery Law”); Montgomery & Newcomb, LLC (“M&N Law”); M. Scott Montgomery,

Esq. (“Montgomery”); W. Todd Newcomb, Esq. (“Newcomb”); (Montgomery Law, M&N Law,

Montgomery, and Newcomb may sometimes hereinafter be referred to as the “Montgomery Law

Defendants”); CLS, Inc. d/b/a Atlas Vacation Remedies and also d/b/a Principal Transfer Group

(“CLS”); Atlas Vacation Remedies, LLC (“Atlas”); Principal Transfer Group, LLC (“PTG”);

Donnelly Snellen (“Snellen”); Jason Levi Hemmingway (“Hemmingway”)(CLS, Atlas, Principal

Transfer, Snellen, and Hemmingway may sometimes hereinafter be referred to as the “CLS

Defendants”); Mutual Release Corporation a/k/a 417 MRC LLC (“MRC”) Dan Chudy

(“Chudy”); Matthew Tucker (“Tucker”) (MRC, Chudy, and Tucker may sometimes hereinafter

be referred to as the “MRC Defendants”); Catalyst Consulting Firm LLC (“Catalyst”)(the CLS

Defendants, the MRC Defendants, and Catalyst may sometimes hereinafter be referred to as the

“TPE Defendants”), and state as follows:

I.      INTRODUCTION

        A.      Background on the Timeshare Industry.

        1.      This action is based on the simple premise that it is inherently false and

misleading for a non-party to a contract to advertise and sell any ability to release a one of the

parties to that contract from the obligations of that contract, or to otherwise legally cancel or

terminate that contract without any consequences.



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        2.      Prior to the creation of the timeshare industry, anyone wanting to vacation in the

same destination each year faced the limited options of (a) booking a hotel in advance and

paying the daily rate (assuming availability) or (b) purchasing a vacation property (a significant

financial investment with ongoing obligations of care, repair, and maintenance).

        3.      Resort developers, like Wyndham, develop vacation properties where the

developer can divide a single vacation unit between 52 owners, with each owner purchasing a

fractional interest of the whole for a specified share of the total price, i.e. deeded ownership.

Developers, like Wyndham, also sell membership interests to consumers in the form of points,

which are exchanged for use at Wyndham properties. Wyndham owners may also belong to an

exchange program, which allows owners to use their ownership at Wyndham resorts to stay at

additional properties that Wyndham does not own, further expanding consumer’s choices.

        4.      Thus, consumers enjoy regular vacations for a fraction of the typical cost and

without the burdens associated with undivided vacation property ownership (such as being solely

responsible for taxes, maintenance, and repairs). Moreover, in exchange for payment of a regular

maintenance fee, timeshare owners receive assurance of high quality resorts every year.

        5.      Timeshare ownership is a contractual relationship.     Wyndham has valid and

binding contracts (the “Timeshare Contracts”) with identifiable individuals who purchased

timeshare interests from Wyndham (the “Wyndham Owners”). The Timeshare Contracts control

the benefits and obligations of timeshare ownership between the Wyndham Owners and

Wyndham.

        B.      Background on the Timeshare Exit Industry.

        6.      Recently, a nefarious cottage industry known as “timeshare exit” has sprouted.

This industry preys upon unsuspecting timeshare owners, including Wyndham Owners, inducing

them into breaching their binding Timeshare Contracts, causing harm to both the Wyndham

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Owners and Wyndham. This scheme is not limited to just Wyndham Owners and Wyndham,

and has targeted the timeshare industry as a whole.

        7.      Timeshare exit businesses typically demand exorbitant up-front payment from

consumers, and then do little or nothing on behalf of the consumer, often leaving the consumer

with damaged or ruined credit. To make matters worse, many consumers that may have an issue

with their timeshare product could have the issue resolved by simply contacting the timeshare

developer, such as Wyndham, directly or utilizing one of the many programs created by the

timeshare industry for consumers, such as the Wyndham Ovation® program.

        8.      Defendants are not parties to the Timeshare Contracts. Yet, despite this, they

falsely advertise a “cancellation,” “exit,” or “transfer” service that purports to “legally” or

“painlessly” release or “exit” Wyndham Owners from the obligations of their Timeshare

Contracts. The following is a representative advertisement by Defendant Catalyst for illustrative

purposes:




        9.      Defendants even guarantee results – that is, Defendants guarantee that Wyndham

Owners will be legally and permanently exited from their Timeshare Contracts if they use

Defendants’ services.




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        10.      Because a guarantee of this nature would violate the Florida Bar Rules of

Professional Conduct if advertised directly by the lawyer and law firm defendants – the

Montgomery Law Defendants1 -- the non-lawyer Defendants publish these advertisements and

then refer any “clients” to the Montgomery Law Defendants for purported legal representation.

        11.      Through these false and misleading advertisements, Defendants deceive hundreds

of Wyndham Owners into retaining Defendants, including the Montgomery Law Defendants, at

substantial cost, to implement Defendants’ purported “cancellation” or “transfer” services related

to their Timeshare Contracts.

        12.      Unfortunately for these Wyndham Owners, the “services” Defendants sell

typically result in an outcome very different than what Defendants promise.

        13.      Upon being retained, Defendants instruct, deceive, induce, or persuade Wyndham

Owners to stop fulfilling their contractual obligations under the Timeshare Contracts, as a means

of facilitating the “exit”, “cancellation”, or “transfer.” Even if they state otherwise in writing,

Defendants instruct, deceive, induce, or persuade Wyndham Owners to stop making payments

under the Timeshare Contracts. There are three purposes to doing this:

                 a.       it helps Defendants justify their fees by claiming that the Wyndham

                          Owner is saving money by not making payments to Wyndham as required

                          by the Timeshare Contracts;

                 b.       related to paragraph 13(a), supra, it diverts the funds of the Timeshare

                          Owners from Wyndham to Defendants, causing Wyndham damages; and

                 c.       it ensures a Wyndham Owner will go into default, and foreclosure, on

                          their Timeshare Contract, allowing Defendants to claim success at
1
  Rule 4-7.13(b), Florida Rules of Professional Conduct, states, “Deceptive or inherently misleading advertisements
include, but are not limited to advertisements that contain: (1) statements or information that can reasonably be
interpreted by a prospective client as a prediction or guaranty of success or specific results; . . . .”


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                       “exiting” a Wyndham Owner from their Timeshare Contract, a false and

                       misleading characterization which harms the Wyndham Owner.

        14.     Defendants do not disclose to the Wyndham Owners the consequences of ceasing

payments, or that their “cancellation” and “exit” will actually result in an unlawful breach of the

Timeshare Contracts due to non-payment, leading to a non-judicial foreclosure of their timeshare

interests.

        15.     Nevertheless, after the Timeshare Contracts are foreclosed, Defendants then

misrepresent to these former Wyndham Owners that they were successful in “cancelling” or

“exiting” their Timeshare Contracts.

        16.     Alternatively, Defendants may negotiate a surrender or deed-in-lieu on behalf of

Wyndham Owners, while failing to inform the Wyndham Owners that doing so also has

substantial negative impacts on the credit and finances of Wyndham Owners.

        17.     Cancellation or rescission of a contract is very different in nature than a breach

and termination. But Defendants advertise the former only to mislead Wyndham Owners into

the latter.

        18.     Each Wyndham Owner pays Defendants thousands of dollars to essentially breach

a Timeshare Contract that the Wyndham Owner could have breached on his or her own, for free.

Defendants’ “cancellation” services are therefore illusory, and the Wyndham Owners often do

not realize the scam until after the damage is done when their credit rating is badly hurt due to

the default and/or foreclosure.

        19.     Under the Florida Statutes, the “cancellation” of a Timeshare Contract is a

specific, non-waivable rescission right held by Wyndham Owners that can be exercised within a




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certain time period following the execution of a Timeshare Contract. See Fla. Stat. § 721.10. It

is not a service that can be advertised, sold, or provided in commerce.

        20.     Defendants will also fraudulently transfer a Wyndham Owner’s interest via

quitclaim deed or similar instrument, without the required approval of Wyndham, to a shell

entity or strawman buyer who then fails to make payments on the timeshare interest as required.

Because the transfer was not approved, Wyndham looks to the original Wyndham Owner for

payment while that Owner is completely unaware that he or she is still the legal owner of the

timeshare interest. The Florida Vacation Plan and Timesharing Act specifically prohibits this

scheme of fraudulent transfers, commonly known as a “Viking Ship”. See Fla. Stat. § 721.17.

        21.     Defendants, acting both separately and in concert (as further detailed

hereinbelow), have caused Wyndham millions of dollars in damages. Each Defendant plays a

specific role necessary to effectuate and complete the scams. An Organizational Chart showing

the inter-relationship amongst the Defendants is annexed hereto as Exhibit 1.

        22.     Wyndham has no other option but to actively and aggressively seek damages and

injunctive relief to prevent Defendants from inflicting further damage to Wyndham’s business

and, most importantly, to its relationships with Wyndham Owners.

        C.      Overview of the Complaint.

        23.     In pursuing its legal and equitable remedies here, Wyndham is vindicating its own

rights in response to the ongoing damage being done to it by Defendants, which has culminated

in millions of dollars of lost revenue. Wyndham is also protecting Wyndham Owners from

further harm, and timeshare owners at large, who have been scammed and negatively impacted

by Defendants’ wrongful conduct.

        24.     This Amended Complaint requests damages and injunctive relief for false

advertising and contributory false advertising in violation of the Lanham Act, 15 U.S.C. §

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1125(a)(1) and under the causes of action for a defendant making false and/or misleading

representations about its own goods or services (authorized by Pom Wonderful, LLC v. Coca-

Cola Co. 573 U.S. 102 (2014) and Lexmark Intern., Inc. v. Static Control Components, Inc., 572

U.S. 118 (2014)), intentional interference with contractual relations, civil conspiracy, and

violations of the Florida Deceptive and Unfair Trade Practices Act.

II.     PARTIES, JURISDICTION, AND VENUE

        A.      The Plaintiffs

        25.     Plaintiff Wyndham Vacation Ownership, Inc. is a corporation organized and

existing under the laws of the State of Delaware with a principal place of business located at

6277 Sea Harbor Drive, Orlando, Florida 32821.

        26.     Plaintiff Wyndham Vacation Resorts, Inc. is a corporation organized and existing

under the laws of the State of Delaware with a principal place of business located at 6277 Sea

Harbor Drive, Orlando, Florida 32821.

        27.     Plaintiff Wyndham Resort Development Corporation is a corporation organized

and existing under the laws of the State of Oregon with a principal place of business located at

6277 Sea Harbor Drive, Orlando, Florida 32821.

        28.     Plaintiff Shell Vacations LLC is a limited liability company organized and

existing under the laws of the state of Arizona with a principal place of business located at 6277

Sea Harbor Drive, Orlando, Florida 32821.

        29.     Plaintiff SVC-West, LLC is a limited liability company organized and existing

under the laws of the state of California with a principal place of business located at 6277 Sea

Harbor Drive, Orlando, Florida 32821.




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         30.    Plaintiff SVC-Americana, LLC is a limited liability company organized and

existing under the laws of the state of Arizona with a principal place of business located at 6277

Sea Harbor Drive, Orlando, Florida 32821.

         31.    Plaintiff SVC-Hawaii, LLC is a limited liability company organized and existing

under the laws of the state of Hawaii with a principal place of business located at 6277 Sea

Harbor Drive, Orlando, Florida 32821.

         B.     The Defendants

         32.    A better understanding of how the Defendants are all interlinked (as set forth

herein below) can be obtained through reference to Exhibit 1.

                1.     The Montgomery Law Defendants.

         33.    The Montgomery Law Defendants are the various lawyers and law firms utilized

by the TPE Defendants to carry out their schemes.

         34.    Montgomery Law is a limited liability company organized and existing under the

laws of the State of Missouri with a principal place of business at 901 E Saint Louis Street, Suite

1201, Springfield, Missouri 65806. A copy of the Missouri Secretary of State information for

Montgomery Law is annexed hereto as Exhibit 2.

         35.    M&N Law is a limited liability company organized and existing under the laws of

the State of Missouri with a principal place of business at 901 E Saint Louis Street, Suite 1201,

Springfield, Missouri 65806.     A copy of the Missouri Secretary of State information for

Montgomery Law is annexed hereto as Exhibit 3.

         36.    Montgomery is an individual and resident of the State of Missouri who can be

found at 901 E Saint Louis Street, Suite 1201, Springfield, Missouri 65806 and is otherwise sui

juris.


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        37.     Newcomb is an individual and resident of the State of Missouri who can be found

at 901 E Saint Louis Street, Suite 1201, Springfield, Missouri 65806 and is otherwise sui juris.

                2.         The CLS Defendants.

        38.     The CLS Defendants are a group of companies, fictitious names, and individuals

that work together as a timeshare exit company.

        39.     CLS is a corporation organized and existing under the laws of the State of

Missouri. CLS has a history of moving its offices:

                a.         Prior to becoming the target of multiple lawsuits, on January 4, 2018,

                           Snellen and Hemingway caused the business address of CLS to be

                           changed from 1402 C Missouri Boulevard, Jefferson City, Missouri 65109

                           (which is the location at which Snellen operates a business known as Wild

                           Weezel, LLC d/b/a The Shirt Shack) to 901 E Saint Louis Street, Suite

                           1201, Springfield, Missouri 65806, an address CLS shares with co-

                           defendants MRC, Catalyst, Chudy, and Tucker. A copy of the Missouri

                           Secretary of State filing making this change is annexed hereto as Exhibit

                           4.

                b.         Subsequently, on February 14, 2018, Snellen and Hemingway confirmed

                           through a filing with the Missouri Secretary of State (a copy of which is

                           annexed hereto as Exhibit 5) that:

                      i.          the principal place of business or corporate headquarters of CLS is

                                  901 E Saint Louis Street, Suite 1201, Springfield, Missouri 65806;

                     ii.          Snellen is the President and Secretary of CLS while Hemingway is

                                  the only other officer of CLS; and



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                     iii.         Snellen and Hemingway are the only two members of the Board of

                                  Directors of CLS.

                c.         After becoming the target of a lawsuit in the United States District Court

                           for the Western District of Missouri, Snellen allegedly changed the

                           address of CLS to 708 Missouri Boulevard, Jefferson City, Missouri

                           65109. A copy of the Missouri Secretary of State filing making this

                           change is annexed hereto as Exhibit 6.        708 Missouri Boulevard is

                           occupied by Larry[‘]s Vinyl & Leather Restoration, LLC d/b/a Larry’s

                           Leather with no sign of CLS being present in that location.

        40.     CLS owns at least two fictitious names: ‘Atlas Vacation Remedies’ and ‘Principal

Transfer Group’, the latter of which it has registered with the Missouri Secretary of State twice.

Copies of the fictitious name registrations filed with the Missouri Secretary of State are annexed

hereto as Exhibits 7, 8, and 9, respectively. As with the alleged change the address of CLS, the

second registration of ‘Principal Transfer Group’ occurred after the CLS Defendants had become

the target of a lawsuit.

        41.     Atlas is a limited liability company organized and existing under the laws of the

State of Missouri with a registered address at 3645 South Culpepper Circle, Springfield,

Missouri 65804. A copy of the Missouri Secretary of State information for Atlas is annexed

hereto as Exhibit 10. Atlas maintains a principal place of business at 901 E Saint Louis Street,

Suite 1201, Springfield, Missouri 65806.

        42.     PTG is a limited liability company organized and existing under the laws of the

State of Missouri with a registered address at 3645 South Culpepper Circle, Springfield,

Missouri 65804. A copy of the Missouri Secretary of State information for Atlas is annexed



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hereto as Exhibit 11. PTG maintains a principal place of business at 901 E Saint Louis Street,

Suite 1201, Springfield, Missouri 65806.

        43.     Atlas and PTG are alter-egos and affiliates of CLS for at least the following

reasons:

                a.    they share names that are identical to the fictitious names registered by

                      CLS (see Exhibits 7, 8, 9, 10, and 11);

                b.    they share the same address, for example, CLS registered CLS’s two

                      fictitious names as doing business at 901 E Saint Louis Street, Suite 1201,

                      Springfield, MO 65806 (see Exhibits 5, 6), while paperwork utilized by

                      PTG indicates that it is located at 901 E Saint Louis Street, Suite 1201,

                      Springfield, Missouri 65806 (see Exhibit 14);

                c.    they share logos, for example, both CLS and PTG use the following logo:




                d.    they share phone numbers, for example, CLS and PTG both utilize (417)

                      612-9500;

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                e.     they share websites, for example, both CLS and PTG utilize

                       www.principaltransfergroup.com;

                f.     CLS, Atlas, and PTG share common ownership and/or control

                       (specifically Snellen and/or Hemingway); and

                g.     CLS, Atlas, and PTG engage in common marketing and solicitation, and

                       common business schemes, as more fully set forth herein.

In sum, there is no way to determine the difference between CLS, PTG, and Atlas – all three

operate using identical names out of the same office, utilizing the same logos, phone numbers,

and websites.

         44.    Snellen is an individual and resident of the State of Missouri.

         45.    Hemingway is an individual and resident of the State of Missouri. Hemingway

was formerly committed to the Missouri Department of Corrections and may presently be

reached through, at least, his parole officer, Jennifer Kimberlin, at 2530 South Campbell, Suite

H, Springfield, Missouri 65807.

                3.     The MRC Defendants.

         46.    The MRC Defendants are a group of companies, a fictitious name, and individuals

that work together as a timeshare exit company.

         47.    MRC is a limited liability company organized and existing under the laws of the

State of Missouri with a principal place of business located at 901 E St. Louis Street, Suite 1201,

Springfield, Missouri 65806. A copy of the Missouri Secretary of State information for MRC is

annexed hereto as Exhibit 12.

         48.    Chudy is an individual and citizen of the State of Missouri and is otherwise sui

juris.



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         49.    Tucker is an individual and citizen of the State of Missouri and is otherwise sui

juris.

                4.     Catalyst.

         50.    Catalyst is a limited liability company organized and existing under the laws of

the State of Missouri with a principal place of business located at 901 E St. Louis Street, Suite

1205, Springfield, Missouri 65806. A copy of the Missouri Secretary of State information for

Catalyst is annexed hereto as Exhibit 13.

         C.     Subject Matter Jurisdiction

         51.    This Court has subject matter jurisdiction over the claims sounding in the Lanham

Act alleged herein pursuant to 28 U.S.C. §§ 1331 and 1338. This Court has subject matter

jurisdiction over the claims sounding in state law alleged herein pursuant to 28 U.S.C. § 1367 as

the state law claims are so related to the Lanham Act claims that they form part of the same case

or controversy.

         D.     Personal Jurisdiction

         52.    This Court has personal jurisdiction over the Defendants for the following

reasons:

                a.     over all Defendants because their actions, as more fully described herein

                       below, are directed at consumers across the country, including consumers

                       in the state of Florida. All Defendants operate websites that are freely

                       accessible from Florida and target consumers in the State of Florida,

                       which involves, inter alia, the repeated transmission of files over the

                       Internet in, to, and out of the State of Florida;

                b.     over all Defendants as they operate together and cause false demand

                       letters to be directed to Wyndham in the State of Florida, indeed, all

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                            actions of Defendants are designed to interfere with Wyndham’s business,

                            which involves the repeated use of the wires and mails by Defendants to

                            transmit correspondence and other items into the State of Florida; and

                    c.      at least some of the Timeshare Contracts and Timeshare Owners at issue

                            in this civil action were entered into in Florida or are Florida residents.

        53.         For the foregoing reasons, the Court has personal jurisdiction over all Defendants.

        E.          Venue

        54.         Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §1391

because, as described herein, a substantial part of the events giving rise to Plaintiffs’ claims

occurred in Florida, because the Defendants ultimately harm the consuming public and

Wyndham in Florida, and Defendants’ conduct giving rise to the claims set forth herein occurred

in this District.

        F.          Conditions Precedent, Attorneys’ Fees

        55.         All conditions precedent to the bringing and maintenance of this action have been

performed, were waived, would be futile if attempted, or have otherwise been satisfied or

occurred.

        56.         Wyndham has retained the services of the undersigned lawyers to represent it in

this matter and have obligated themselves to pay reasonable attorneys’ fees, which fees are

recoverable against Defendants pursuant to 15 U.S.C. § 1117 and the Florida Deceptive and

Unfair Trade Practices Act, and other statutes, as set forth in greater detail herein.

III.    THE WYNDHAM ENTITIES

        57.         Wyndham is a global leader in the hospitality and vacation ownership industry

with properties and a network spanning the world.



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        58.     Wyndham Vacation Ownership, Inc. is the parent company or ultimate parent

company of three entities that conduct timeshare sales and development activities throughout the

United States: Wyndham Vacation Resorts, Inc., Wyndham Resort Development Corporation,

and Shell Vacations LLC.

        59.     As part of its business, WVR, WRDC and SV enter into timeshare contracts with

consumers (e.g., the Wyndham Owners). At the time owners purchase timeshares from WVR,

WRDC, and/or SV, the owners execute the Timeshare Contracts wherein the now-Wyndham

Owners agree to pay an amount certain for the timeshare interest, as well as maintenance and/or

annual fees to Wyndham for the upkeep of the timeshare units and common areas of the

timeshare properties. In addition, the now-Wyndham Owners agree to pay a pro-rated share of

the property taxes to Wyndham which is then submitted by Wyndham to the appropriate local

tax collectors. Often, if a purchaser desires mortgage financing, he or she may apply for a

mortgage, and after approval, may execute a Promissory Note and Mortgage, which are

referenced and incorporated in the Purchase Agreement and become part of the Timeshare

Contract. These Timeshare Contracts are legally binding contracts and, after the passage of a

statutory rescission period, cannot be unilaterally rescinded.

IV.     LINKS BETWEEN THE VARIOUS DEFENDANTS

        60.     There are a number of links between the various Defendants, as shown in Exhibit

1. Wyndham will set forth those links in greater detail hereinbelow.

        A.      CLS and its Principals are Linked to Every Other TPE Defendant or Group
                of Defendants.

        61.     CLS and its principals (Snellen and Hemingway) are linked to every other

Defendant or group of Defendants.




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        62.     CLS is affiliated with, and works as an alter-ego of, Atlas and PTG for at least the

reasons set forth in Paragraph 34, supra.

                1.     The CLS Defendants are Related to the MRC Defendants.

        63.     CLS, Atlas, PTG, and MRC all share the same address, 901 E Saint Louis Street,

Suite 1201, Springfield, Missouri 65806:

                a.     prior to being sued, CLS represented this address as the address for CLS,

                       see Exhibit 4;

                b.     CLS registered two of its fictitious names – ‘Atlas Vacation Remedies’

                       and ‘Principal Transfer Group’ as doing business out of this address, see

                       Exhibits 7, 8;

                c.     PTG represents this address as its business address both to Wyndham

                       Owners and Wyndham itself, see Exhibit 14 annexed hereto;

                d.     Atlas represented this address as its business address on its website, see

                       Exhibit 15 annexed hereto; and

                e.     MRC lists the address as its business address, see Exhibit 12.

        64.     MRC is inextricably intertwined with CLS, Atlas, and PTG for at least the

following additional reasons:

                a.     Hemingway, who is the Chief Operating Officer of CLS (as set forth

                       hereinbelow) filed the paperwork to form MRC, see Exhibit 12;

                b.     MRC’s contracts, a sample copy of which is annexed hereto as Exhibit 16,

                       refer to MRC as “AVR”, the same acronym Atlas uses for itself on its

                       website (see Exhibit 15, p. 2, referring to “AVR TIMESHARE

                       REMEDIES”);



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                c.          CLS doing business as ‘Principal Transfer Group’ and/or PTG invoices

                            MRC’s customers, annexed hereto as Exhibit 17 is a copy of the invoice

                            that was created as a result of the MRC illusory contract with a Wyndham

                            Owner attached as Exhibit 16 showing that, even though the Wyndham

                            Owner signed an illusory contract with MRC, the Wyndham Owner was

                            invoiced by CLS d/b/a ‘Principal Transfer Group’ and/or PTG for that

                            illusory contract;

                d.          MRC refers to CLS doing business as ‘Atlas Vacation Remedies’ and/or

                            Atlas during MRC’s sales pitches, annexed hereto as Exhibit 18 is a

                            narrative from Wyndham Owner L.E., the same Wyndham Owner

                            reflected in Exhibits 16 and 17, wherein L.E. states inter alia that:

                       i.          “[d]uring the presentation, I was told that a company named

                                   ATLAS, ‘which is like the Equifax for timeshares…’”;

                     ii.           “[t]hey threateningly said, ‘fine, walk away, but we have to report

                                   to ATLAS tonight…’”; and

                     iii.          “[t]hey said that ATLAS would notify all three of my timeshare

                                   companies…”; and

                e.          MRC distributes materials for CLS d/b/a Principal Transfer Group and/or

                            PTG, annexed hereto as Exhibit 19 is an example of the materials given by

                            MRC to L.E.

        65.     Also, MRC works with, and is affiliated with, CLS, Atlas, and PTG because they

all operate from the same office, share common ownership and/or control, utilize identical, or

nearly identical, documents, cross-promote, and split fees.



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                2.     The CLS Defendants are Related to Catalyst.

       66.      While Catalyst alleges to the world that it operates 901 E St. Louis Street, Suite

1205, Springfield, Missouri 65806, this is false. Annexed hereto as Exhibit 32 is the City of

Springfield business license record for Catalyst, which shows its address as 901 E St Louis

Street, Suite 1200, Springfield, Missouri 65806.

       67.      The business actually located at 901 E St Louis Street, Suite 1200 is the law firm

of Douglas Haun Heidemann PC. The Douglas Haun Heidemann firm sub-leases a desk to M.

Scott Montgomery, Esq., a Missouri attorney who owns two firms: The Montgomery Law Firm,

LLC and Montgomery and Newcomb, LLC.

       68.      Catalyst does not operate out of a desk utilized by two separate law firms, which

is itself sub-leased from a different law firm. Instead, Catalyst operates out of the same location

as the CLS Defendants and MRC.

       69.      Catalyst is further related to the CLS Defendants as it shares business with them

and advertises for them:

                a.     a witness – K. K. – attended an event hosted by Catalyst where K. K. was

                       presented a ‘Timeshare Referral Form’, a copy of which is annexed hereto

                       as Exhibit 20, which states, in part:




                                                                                              ;

and

                b.     K. K. was also given flyer, a copy of which is annexed hereto as Exhibit

                       21, from Catalyst stating what would happen next, including statements

                       that the file might “transition to…Principal Transfer”, that the timeshare

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                       owner should “not contact your timeshare company.                Principal

                       transfer…will coordinate exclusively with them from this point forward”,

                       and that Catalyst is “pleased to help you process your timeshare to

                       Principal Transfer…”:




                                                                                             .

       70.      The references to “Principal Transfer” contained in Exhibits 33 and 34 are

referring to the CLS Defendants, specifically CLS (doing business as Principal Transfer Group)

and/or PTG.

        71.     Additionally, Catalyst’s website:

                a.     states as “Our Services” “Catalyst Consulting Firm can refer you to a wide

                       range of quality resources, that we know you can trust…”, a copy of this

                       webpage is annexed hereto as Exhibit 22; and

                b.     has a page for “Our Affiliations” which contains the logos of, and two

                       hyperlinks to, the CLS Defendants and Montgomery Law, a copy of this

                       webpage is annexed hereto as Exhibit 23.

        72.     There are still more links between Catalyst and the CLS Defendants. Catalyst

shares two employees with non-party Atlas Consulting Group:

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                a.    Chandler Schooler (“Schooler”), whose LinkedIn page (a copy of which is

                      annexed hereto as Exhibit 24) states that he is simultaneously ‘Senior

                      Customer Service Representative’ at Vacation Consulting, ‘National

                      Director’ at Catalyst, and ‘Owner / Sr. Advisor’ at ‘Atlas Consulting

                      Group / Catalyst Consulting Firm’; and

                b.    Andrew Hughes (“Hughes”) also works for Catalyst and Atlas Consulting

                      Group (“Atlas Consulting”), where he is listed as the sole employee and

                      ‘consultant’; the pictures and biographical descriptions for Hughes are

                      identical on the websites for both Catalyst and Atlas Consulting.

        73.     Atlas Consulting serves as yet another link between Catalyst and the CLS

Defendants:

                a.    Catalyst shares two employees with Atlas Consulting;

                b.    one of those employees is also an owner of both Catalyst and Atlas

                      Consulting;

                c.    Atlas Consulting shares a logo that is nearly identical to CLS doing

                      business as Atlas Vacation Remedies and/or Atlas:




                                                                                          ;

                d.    Atlas Consulting shares a telephone number with CLS d/b/a Atlas

                      Vacation Remedies and/or Atlas, specifically (417) 319-7771; and


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                e.     Hemingway, an employee, officer, and director of CLS, is the owner of

                       Atlas Consulting’s domain name.

        74.     Catalyst is related to the CLS Defendants because it operates out of the same

office space, has a plan and policy – including pre-printed documents that are regularly

distributed to consumers – of referring business to, and splitting fees with, the CLS Defendants,

and operates a shell company – Atlas Consulting – together and in conjunction with the CLS

Defendants.

        B.      The TPE Defendants All Work with the Montgomery Law Defendants

        75.     Because the advertised services promise a legal result – i.e., a canceled contract –

the TPE Defendants retain and affiliate with lawyers who purportedly represent the Wyndham

Owners in their demands that Wyndham agree to cancel the Timeshare Contracts.

        76.     This is the role filled by the Montgomery Law Defendants.

        77.     The Montgomery Law Defendants have agreed to represent the timeshare owners,

including Wyndham Owners, solicited by the TPE Defendants’ advertisements.

        78.     The TPE Defendants even disseminate information about the Montgomery Law

Defendants at their presentations, as shown in Exhibits 20, 21, and 23. While Exhibits 20, 21,

and 23 are from Catalyst, the other TPE Defendants make similar or identical referrals to the

Montgomery Law Defendants.

        79.     Moreover, not only are the CLS Defendants located in the office next to

Montgomery Law and M&N Law, Catalyst’s business is registered as being co-located with

Montgomery Law and M&N Law at 901 E St Louis Street, Suite 1200, Springfield, Missouri

65806 (see Exhibit 25 annexed hereto).

        80.     Montgomery Law and M&N Law therefore know about, contribute to, and

materially participate in the false advertising by the TPE Defendants as detailed herein.

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        81.     In 2017 and 2018 alone, Wyndham received numerous demand letters from the

Montgomery Law Defendants on behalf of Wyndham Owners.

        82.     The letters allege various misrepresentations by Wyndham’s representatives

during the inducement and formation of the Timeshare Contracts.

        83.     After the Montgomery Law Defendants send the demand letters, the TPE

Defendants do little more than facilitate the exchange of information between the Montgomery

Law Defendants and the Wyndham Owner. In other words, the TPE Defendants’ “exit services”

merely involve waiting and hoping that the litigation threat by the Montgomery Law Defendants

will convince Wyndham to cancel or release the Timeshare Contracts at issue. They are based

on the gamble that Wyndham will either (1) eventually lose in court if suit is filed or (2) opt to

settle and release the Wyndham Owner from his or her Timeshare Contract rather than litigate an

action. The advertised “services,” therefore, are unreliable and illusory.

        84.     As payment for the demand letters, the TPE Defendants pay the Montgomery

Law Defendants a flat portion of the fees the TPE Defendants receive from the Wyndham

Owners.

        85.     The Wyndham Owners never pay Montgomery Law or M&N Law directly.

        86.     Such an arrangement violates a number of state bar association rules, including,

without limitation, Rule 4-7.22 of the Florida Rules of Professional Conduct, which generally

prohibits the splitting of attorney fees with referral sources.

V.      PERSONAL LIABILITY OF THE INDIVIDUAL DEFENDANTS

        87.     The individual defendants are personally liable for the actions of the company

defendants with which they are associated.

        88.     Snellen and Hemingway are each personally liable for the actions of the CLS

Defendants because they personally direct and control the actions of the CLS Defendants, as

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shown by the exhibits to this Amended Complaint wherein Snellen and Hemingway created the

structure of the CLS Defendants and are the only owners, directors, and officers of the CLS

Defendants. Moreover, Snellen and Hemingway purposefully personally direct the scheme to

defraud Wyndham Owners with no intention of conducting legitimate transfers or terminations

of timeshare interests and therefore the other CLS Defendants are shells designed to allow

Snellen and Hemingway to carry out illegal activities.

        89.     Chudy and Tucker are each personally liable for the actions of the MRC

Defendants because they personally direct and control the actions of the MRC Defendants.

Moreover, Chudy and Tucker purposefully direct the scheme to defraud Wyndham Owners with

no intention of conducting legitimate transfers or termination of timeshare interests and therefore

the other MRC Defendants are shells designed to allow Chudy and Tucker to carry out illegal

activities.

        90.     Montgomery is personally liable for the actions of Montgomery Law and M&N

Law as he is a principal partner in each of the firms and has personal, direct and total control

over all aspects of the firms, their interworking and their actions.

        91.     Newcomb is personally liable for the actions of M&N Law as he is a principal

partner of the firms and has personal direct and total control over all aspects of the firms, their

interworking and their actions.

VI.     ILLEGAL CONDUCT BY THE DEFENDANTS TO INDUCE BREACHES OF
        WYNDHAM’S TIMESHARE CONTRACTS

        92.     The TPE Defendants deploy various methods of false advertising targeted at

Wyndham Owners to solicit the Defendants’ so-called “exit” or “transfer” services.

        93.     While most of the TPE Defendants operate websites (listed in this Complaint) that

advertise their so-called services, they also work independently and jointly to host in-person


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sales presentations, conduct sales calls, and send mail advertisements to Wyndham Owners.

Often, the telemarketing and mail marketing efforts are aimed at getting Wyndham Owners to an

in-person sales presentation.

        94.     The ultimate goal of the various methods of advertising and solicitation is to

convince Wyndham Owners that the TPE Defendants have the ability to either cancel the

Timeshare Contracts or transfer the obligations of the Timeshare Contracts. As explained below,

the TPE Defendants do not have this ability, and the advertising is, by nature, false and/or

misleading.

        A.      False and/or Misleading Advertising

                1.     General Content of the False and/or Misleading Advertising.

        95.     Regardless of the method of advertising, the advertising content is generally

consistent (and consistently false and/or misleading) among the numerous TPE Defendants.

        96.     At their core, the advertisements falsely represent how the TPE Defendants

supposedly assist Wyndham Owners with the termination of their Timeshare Contracts. In short,

TPE Defendants mislead Wyndham Owners into thinking that the TPE Defendants’ services and

commercial activities will lead to a lawful release, rescission, termination, cancellation, or

transfer of their Timeshare Contracts, when in reality, TPE Defendants deceive and induce

Wyndham Owners into breaching the Timeshare Contracts which unlawfully terminates those

Contracts.

        97.     The advertisements are false and/or misleading by including one of more of the

following promises about the TPE Defendants’ services:

                a.     Stating that their services or commercial activities provide an “exit,”

                       “cancellation,” or “release” of a timeshare contract, or by using any other

                       word or phrase (i.e. “get out”) that means or implies the lawful termination

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                     of a timeshare contract. The TPE Defendants cannot truthfully advertise,

                     offer, or provide a Wyndham Owner with a lawful termination, release, or

                     rescission of any Timeshare Contract, because such result requires the

                     agreement of the other party to such Contract, namely Wyndham, yet

                     Wyndham has never authorized the TPE Defendants to advertise or make

                     a public offer regarding Wyndham’s timeshare agreements.              Only

                     Wyndham, as a party to such Timeshare Contracts, has the ability to

                     truthfully offer a means of terminating the Timeshare Contracts, which

                     Wyndham does through its Ovation® program.

                b.   Stating that their services or commercial activities provide a “process” or

                     “method” that results in a timeshare owner being free from the obligations

                     and benefits of a timeshare contract.      The TPE Defendants cannot

                     truthfully advertise to a Wyndham Owner any “process” or “method” that

                     results in a lawful transfer, termination, release, or rescission of any

                     Timeshare Contract, because such result requires the agreement of the

                     other party to such Contract, namely Wyndham, yet Wyndham has never

                     authorized the TPE Defendants to advertise, represent, or even suggest

                     that Wyndham participates in any such process to achieve the advertised

                     result.

                c.   Stating that their services or commercial activities provide a “legal,”

                     “lawful,” “legitimate,” or “safe” means of terminating or transferring a

                     timeshare contract or otherwise releasing or freeing a timeshare owner

                     from the obligations and benefits of a timeshare contract.       The TPE



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                     Defendants falsely equate (i) the termination of a Timeshare Contract

                     through breach, default, and/or foreclosure (the actual result of their

                     “cancellation” or “transfer” services) with (ii) a “lawful” or “legitimate”

                     result. Under basic principles of the law, the breach of any contract is an

                     unlawful and illegitimate means of terminating a contract, which typically

                     subjects the defaulting party to resulting damages in a court of law. In this

                     way, a breach does not “lawfully” or “legitimately” free or release a

                     Wyndham Owner from the Timeshare Contract, but instead triggers the

                     non-defaulting party’s (Wyndham’s) rights to seek legal and equitable

                     remedies in court for the unlawful termination. The contract is never

                     cancelled; to the contrary, it is fully enforced. Because the Defendants

                     recommend, induce, or persuade Wyndham Owners into stopping

                     payments on their Timeshare Contracts and thus defaulting on those legal

                     instruments, Defendants cannot truthfully advertise that the resulting

                     termination of the Timeshare Contracts is in any way “lawful” or

                     “legitimate.”

                d.   Stating that their services or commercial activities provide a “guaranteed”

                     means of terminating or transferring a timeshare contract or otherwise

                     releasing or freeing a timeshare owner from the obligations and benefits of

                     a timeshare contract. The TPE Defendants cannot truthfully advertise a

                     “guaranteed” transfer, termination, release, or rescission of any Timeshare

                     Contract, because such result requires the agreement of the other party to

                     such Contract, namely Wyndham, yet Wyndham has never authorized the



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                      TPE Defendants to “guarantee” any lawful transfer, termination, release,

                      or rescission regarding Wyndham’s Contracts. To the extent a Wyndham

                      Owner’s breach or default of a timeshare contract “guarantees” its

                      termination, such result does not owe to any service or commercial

                      activity by the Defendants. To the contrary, a Wyndham Owner can

                      breach a Timeshare Contract without any involvement by Defendants –

                      and for free – therefore the fact that Defendants charge exorbitant fees to

                      deceive and persuade a Wyndham Owner to breach the Timeshare

                      Contract makes evident the scam they perpetuate.

                e.    Stating that their services or commercial activities allow a timeshare

                      owner to stop paying mortgage payments or fees, including maintenance

                      fees, or to otherwise avoid the contractual obligations of a timeshare

                      contract.   The TPE Defendants cannot truthfully advertise, offer, or

                      provide a Wyndham Owner with the consequence-free right to stop

                      making payments on a Timeshare Contract, because such result requires

                      the agreement of the other party to such Timeshare Contract, namely

                      Wyndham. Yet Wyndham has never authorized the TPE Defendants to

                      advertise that a Wyndham Owner can stop making payments or otherwise

                      stop fulfilling the contractual obligations on Wyndham’s Contracts.

                2.    Online Advertising.

        98.     The following quotations from the various TPE Defendants’ websites are a non-

exhaustive set of examples of the above types of false or misleading statements in advertising.




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                         a.       The CLS Defendants

        99.      Either CLS or Atlas (or both) owns, operates, controls, and/or is otherwise

responsible for the content of www.atlasvacationremedies.com.

        100.     The content of www.atlasvacationremedies.comm has been removed since the

initial filing of this lawsuit.

        101.     The content of www.atlasvacationremedies.com previously included the

following statements:

                 a.      “With over thousands remedied, we would love to help you and your

                         family get relief from your timeshare burden. Our experts are available

                         now!” (www.atlasvacationremedies.com)

                 b.      “We specialize in helping timeshare owners exist their timeshare

                         contracts. The core service we provide is a legal and permanent transfer

                         of ownership.    This will remove your name from the Deed of the

                         ownership completely, . . .” (www.atlasvacationremedies.com)

                 c.       “Disposal Solutions” representing that “Our solution is tailored to each

                         individual Client, and the method used to remedy your timeshare burden

                         depends on your particular situation. We have a very skilled in-house

                         team, and we will retain an attorney on your behalf if needed.”

                         (www.atlasvacationremedies.com/services)

                 d.      “If your timeshare is paid in full with no existing mortgage, our team can

                         help you exit your situation with no problems through our transfer

                         service.” (www.atlasvacationremedies.com/services)




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                e.   “If you still owe a mortgage on your timeshare, we have solutions to

                     relieve       your         [sic]        of        your           ownership.”

                     (www.atlasvacationremedies.com/services)

                f.   “Each Client’s situation is unique, the timeframe can vary for each

                     customer but typically we can have you out in 120 – 180 days.

                     (www.atlasvacationremedies.com/faq-s)

                g.   “Will my name be off the Timeshare ownership documents? Yes!

                     Ownership is legitimately transferred. Depending on the property of

                     record, title is transferred via deed, membership, lease, assignment, or as

                     required by resort official governing documents (covenants, conditions,

                     restrictions).” (www.atlasvacationremedies.com/faq-s)

                h.   “How am I updated throughout the process on the status of my exit? Our

                     client management team will provide status updates throughout your exit.

                     Along the way, do not hesitate to reach out should you have any questions.

                     We use state of the art customer relationship software, this helps us keep

                     you       informed        every        step       of       the        way.”

                     (www.atlasvacationremedies.com/faq-s)

                i.   “What do your services cost? As every situation is different, our fees vary

                     and are dependent on your timeshare and current status of ownership.

                     Some exits are going to be more complicated than others and therefore

                     could cost more. We proudly stand by our 100% money back guarantee.

                     If we are, for any reason, unsuccessful at eliminating your timeshare

                     burden, you will receive a full refund of your fee. Payment plans may be



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                     available so that we can get started on your case right away.”

                     (www.atlasvacationremedies.com/faq-s)

                j.   “How do I start the process? To start the process of exiting your timeshare

                     with the help of the Atlas Vacation Remedies, simply complete our online

                     contact form or give us a call at 1-884-XXX-XXXX to schedule your free,

                     no-obligation consultation. At your consultation, you will meet with one

                     of our knowledgeable Consultants who will discuss your situation and

                     offer options. They can answer any questions you might have regarding

                     your timeshare services.” (www.atlasvacationremedies.com/faq-s)

                k.   “Are there any requirements for using our service? We can help people in

                     almost any circumstance. Remember, with our free consultation and our

                     100% money back guarantee you can determine if we are the right choice

                     for you to partner with.” (www.atlasvacationremedies.com/faq-s)

                l.   “What if I have a mortgage? Please call us! Our service is for any

                     timeshare owner who would like to be unburdened from their timeshare

                     obligation, regardless of their financial status with the timeshare

                     company.” (www.atlasvacationremedies.com/faq-s)

                m.   “We would like the opportunity to discuss your timeshare property with

                     you and give you honest and direct feedback as to what options you might

                     have to eliminate the financial burden. We have tried and tested methods

                     for disposing of your timeshare. We’re very good at what we do. For

                     your peace of mind, we offer a REAL 100% money back guarantee. No

                     gimmicks!” (www.atlasvacationremedies.com/who-we-are)



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        102.    Either CLS or Atlas Consulting (or both) owns, operates, controls, and/or is

otherwise responsible for the content of www.atlasconsultingfirm.net.

        103.    The content of www.atlasconsultingfirm.net includes or has included the

following statements:

                a.      “We have cultivated relationships with Industry Contacts to be able to

                        legally and fully transfer your ownership. In turn relieving you of any

                        financial obligation.” (https://www.atlasconsultingfirm.net/services)

                b.      “We have a wide range of proven resources that are able to handle your

                        misrepresentation case. If you feel that you have been a victim of false

                        sales practices or mislead during a timeshare presentation, this might be

                        the      right     path          to     eliminate     your        obligation.”

                        (https://www.atlasconsultingfirm.net/services)

                c.      Despite this promise to “handle your misrepresentation case,” the website

                        also   includes   the     disclaimer:    “We    are   not    a    law    firm.”

                        (https://www.atlasconsultingfirm.net/faq)

                d.      “WILL MY NAME BE OFF THE TIMESHARE OWNERSHIP

                        DOCUMENTS? Yes! Ownership is legitimately transferred. Depending

                        on the property of record, title is transferred via deed, membership, lease,

                        assignment, or as required by resort official governing documents

                        (covenants,                       conditions,                    restrictions).”

                        (https://www.atlasconsultingfirm.net/faq)




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                e.     “Principal Transfer Group is all about getting you and your family out

                       from         under         the         obligation          of        your          timeshare.”

                       (https://www.atlasconsultingfirm.net/faq)

                f.     “We can help people in almost any circumstance. Remember, with our

                       free consultation and our 100% money back guarantee you can determine

                       if    we     are     the    right       choice      for     you      to     partner      with.”

                       (https://www.atlasconsultingfirm.net/faq)

                g.     “Our team at Principal Transfer Group have helped thousands of

                       customers to legally and permanently get out of their timeshare obligations

                       as    they    prepare      their       estate    and      finances    for        their   heirs.”

                       (https://www.atlasconsultingfirm.net/faq)

                h.     “We     proudly       stand      by      our     100%      money          back     guarantee.”

                       (https://www.atlasconsultingfirm.net/faq)

                i.     “WHAT IF I HAVE A MORTGAGE? Please call us! Our service is for

                       any timeshare owner who would like to be unburdened from their

                       timeshare obligation, regardless of their financial status with the timeshare

                       company.” (https://www.atlasconsultingfirm.net/faq)

                j.     “Our services are for owners who are anxious to be completely free from

                       any                burdensome                     timeshare                       obligations.”

                       (https://www.atlasconsultingfirm.net/faq)

        104.    Either CLS or Principal Transfer Group (or both) owns, operates, controls, and/or

is otherwise responsible for the content of www.principaltransfergroup.com.




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        105.    The content of www.principaltransfergroup.com includes or has included the

following statements:

                a.      “Our solutions are tailored to each individual client, and the method we

                        use to get you out of your timeshare depends on your particular situation.

                        We have a very skilled in-house team, but we will retain an attorney on

                        your behalf if needed. Because each client’s situation is unique, the time

                        frame can vary for each customer. Typically we can have you out in 120 -

                        180 days. Rest assured that we stand by our 100% money-back guarantee.

                        We will do what we say or we will                   refund every cent.”

                        (www.principaltransfergroup.com)

                b.      “You’re Timeshare Free! After we have successfully eliminated your

                        obligation to your timeshare, you will receive notification from your

                        Client Management team to share the good news, and you will also

                        receive written confirmation of the elimination for your records. Read

                        testimonials below from other former timeshare owners about their

                        experience with our services.” (www.principaltransfergroup.com)

                c.      “Are there any requirements for using our service? We can help people in

                        almost any circumstance. Remember, with our free consultation and our

                        100% money back guarantee you can determine if we are the right choice

                        for you to partner with.” (www.principaltransfergroup.com)

                d.      “Will my name be off the Timeshare ownership documents?               Yes!

                        Ownership is legitimately transferred. Depending on the property of

                        record, title is transferred via deed, membership, lease, assignment, or as



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                            required by resort official governing documents (covenants, conditions,

                            restrictions).” (www.principaltransfergroup.com)

                e.          “What happens if you are unsuccessful at exiting me from my timeshare?

                            In the very rare situation that we are unable to obtain a successful exit

                            opportunity, we proudly stand by our 100% money back guarantee and

                            you     will     receive      a    full     refund        of      your       fee.”

                            (www.principaltransfergroup.com)

        106.    CLS, Atlas, and PTG, or some combination thereof, engages in false and/or

misleading      advertising        through    fake      consumer      reviews    on        their     websites,

www.atlasvacationremedies.com and www.principaltransfergroup.com:

                a.          Both the Atlas Vacation Remedies website and the Principal Transfer

                            Group website list the following ‘reviews’/’testimonials’:

                       i.          “I would recommend Principal Transfer Group2 to anyone looking

                                   to get out of their timeshare. We are free and clear of ours and

                                   couldn’t be happier! Thank you! - Susan M.”;

                      ii.          “Everyone that I spoke with and everyone that I worked with were

                                   very professional, honest and stayed in contact with me throughout

                                   the process. I would recommend this company to anyone that

                                   needs to get out of their timeshare. – Pam S.”; and

                     iii.          “Our consultant was very understanding of our particular situation

                                   and worked with us to find the best fit for us from the program

                                   they have in place. I would highly recommend that anyone looking

2
  This is not a typo, the ‘Customer Review’ for ‘Susan M.’ on the Atlas Vacation Remedies website refers to
Principal Transfer Group.


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                                to get out of their timeshare to give them a call. There are no high-

                                pressure sales tactics with this company. We asked for a few days

                                to look things over and call them back. We called them a week

                                later and the deal was still good. We are now timeshare free and

                                could not be happier. Thanks Principal Transfer Group! - Thomas

                                J.”.

               b.       CLS and/or PTG’s website now contains “stock” photographs of the

                        alleged ‘reviewers’ to make it appear as if they are real people when they

                        are, in fact, not.

                        b.      The MRC Defendants.

        107.    Mutual Release owns, operates, controls, and/or is otherwise responsible for the

content of www.mutualreleasecorp.com.

        108.    The content of www.mutualreleasecorp.com includes or has included the

following statements:

               a.       “Helping you be free of fees – forever. You may not be able to afford all

                        of those maintenance fees anymore or simply want out of your timeshare.

                        We can help.” (www.mutualreleasecorp.com)

               b.       “The first step is to review your documents. For our client management

                        team to best assist you, we will need to know the details of your particular

                        documents. You will be assigned a Client Manager who will help you and

                        walk you through this process. Your Client Manager will explain

                        everything to you and be there for you throughout the process.”

                        (www.mutualreleasecorp.com/services/step-1-file-management/)



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               c.      “Each client’s situation is unique. That is why we take the time to listen,

                       so we can create a customized solution to get you out of your timeshare.”

                       (www.mutualreleasecorp.com/services/step-2-file-processing/)

               d.      “The process can be between 60 – 90 days, but may take longer in some

                       cases.     We     will      do   what      we   say     or     refund       your    money.

                       (www.mutualreleasecorp.com/services/step-2-file-processing/)

               e.      “Step–Free of Your Timeshare. After getting through the file processing

                       and management, we will have eliminated you of your timeshare

                       obligation. As soon as we have official notification, your Client Manager

                       will notify you to share the good news. You will also receive official

                       documentation confirming that you have been legally and permanently

                       relieved               of             your              timeshare                  burden.”

                       (www.mutualreleasecorp.com/services/step-3-free-of-your-timeshare/)

               f.      “100% money-back guarantee.” (www.mutualreleasecorp.com/#why)

               g.      “We have helped countless people to be free of timeshares.”

                       (www.mutualreleasecorp.com/#why)

               h.      “Advise         and      educate      you       on      your     timeshare          rights.”

                       (www.mutualreleasecorp.com/#why)

               i.      “We      show         you    how      to     vacation     without       a     timeshare.”

                       (www.mutualreleasecorp.com/#why)

                       c.       Catalyst.

        109.    Catalyst owns, operates, controls, and/or is otherwise responsible for the content

of www.catalystconsultingfirm.com.



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        110.    The content of www.catalystconsultingfirm.com includes or has included the

following statements:

                a.           “Catalyst Consulting Firm can refer you to a wide range of quality

                             resources, that we know you can trust, to help you learn how to maximize

                             your timeshare ownership or remedy any vacation ownership issue.”

                             (www.catalystconsultingfirm.com/services)

                b.           “Catalyst Consulting Firm can advise you on an array of industry specific

                             topics,” including:

                        i.          “What you actually own, and what is it worth;”

                       ii.          “How to get the most out of your vacation ownership;”

                      iii.          “How to vet and qualify an industry resource specializing in

                                    timeshare services;”

                      iv.           “What your industry options are, if your vacation ownership

                                    program no longer suits your needs or lifestyle;”

                       v.           “How to get the most out of an upgrade;”

                      vi.           “How to successfully perform an equity trade;”

                     vii.           “How to successfully navigate the timeshare sales process;”

                     viii.          “How to avoid being taken advantage of, if you should try to sell,

                                    rent, or list your timeshare;”

                      ix.           “How to recoup 100% of the investment you have made towards

                                    your                      timeshare                     ownership.”

                                    (www.catalystconsultingfirm.com/services)




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                 c.     “Satisfaction    Guaranteed.        100%      Money     Back     Guarantee”

                        (https://www.catalystconsultingfirm.com/satisfaction-guaranteed/)

                 d.     “Catalyst Consulting Firm guarantees our clients, that the contract

                        provided to them by our affiliate resources, will provide exactly what was

                        promised by our consultants. If this does not occur, we will provide an

                        acceptable alternative, at no additional cost to the client. If an acceptable

                        alternative cannot be reached, the client will receive 100% of their monies

                        paid,           in         lieu          of           the         contract.”

                        (https://www.catalystconsultingfirm.com/satisfaction-guaranteed/)

                 3.     In-Person Sales Presentations

        111.     The TPE Defendants conduct much of their sales activity through in-person

presentations to Wyndham Owners, which are conducted using scripts and standardized

presentations.

        112.     The TPE Defendants have teams of employees or agents (often called

“consultants”) who travel the country to make sales presentations to timeshare owners.

        113.     The presentations typically begin in a speaker-audience setting and end with one-

on-one pitches during which the consultants pressure individual Wyndham Owners to procure

the advertised “cancellation” or “transfer” services.

        114.     The consultants follow carefully developed scripts to maximize the pressure and,

ultimately, their profit margins.

        115.     A common scare tactic at these presentations is based on rising maintenance fees.

        116.     MRC, for example, misleads and alarms Wyndham Owners by falsely stating that

recent legislative developments allow Wyndham and other timeshare developers to raise

maintenance fees without limitation.

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        117.      MRC’s consultants then work to convince Wyndham Owners that they must end

their Timeshare Contracts now or be subjected to perpetual and increasing maintenance fees,

which is false.

        118.      Similarly, Catalyst begins its presentations by denigrating timeshare developers in

general, and Wyndham in particular, and startles any Wyndham Owners in attendance by stating

that maintenance fees will rise exponentially and will cost Wyndham Owners hundreds of

thousands of dollars over the next few decades. These numbers are distorted, misleading, and

meant solely to induce Wyndham Owners into paying Catalyst a much smaller fee – yet still

several thousand dollars – to avoid the much higher, “projected” future maintenance fees.

        119.      The consultants for these TPE Defendants use a variety of tricks to deceive

Wyndham Owners into believing that a company such as theirs can actually and legitimately

cancel or transfer a Timeshare Contract, including, of course, the basic misrepresentation that a

company such as theirs can actually and legitimately cancel or transfer a Timeshare Contract.

        120.      The money-back guarantee, printed on a brochure or fact sheet, is another

gimmick used by these TPE Defendants to deceive Wyndham Owners into believing that their

services are without fail. But the guarantees are false, because when their services predictably

fail, the TPE Defendants generally do not give refunds to Wyndham Owners merely because the

Timeshare Contracts are ultimately breached rather than legitimately released, cancelled, or

transferred.

        121.      The consultants employ additional tricks to mislead Wyndham Owners into

believing that legitimate grounds exist for canceling their Timeshare Contracts.

        122.      Catalyst’s consultants, for example, represent that a Wyndham Owner’s

Timeshare Contract only remains valid if Wyndham receives each Owner’s signature at every



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HOA meeting the Owner attends.           Furthermore, they state, Wyndham must receive the

Wyndham Owner’s signature on a three-day rescission notice at an HOA meeting.                These

statements are factually and legally false. Catalyst’s consultants then pretend to “check with the

resort” in order to confirm that Wyndham did not acquire the HOA-meeting signatures. The

consultants return to the sales room and relay this “confirmation” to the Wyndham Owners along

with assurances that Catalyst can therefore cancel the Timeshare Contracts at issue because of

those missing signatures.

        123.    The TPE Defendants, through their consultants, purposefully steer Wyndham

Owners away from Ovation, Wyndham’s legitimate program to terminate Timeshare Contracts,

either by denying its existence or by misrepresenting that Ovation costs far more than it actually

does.

        124.    The TPE Defendants inflate the cost of their so-called cancellation services by

including exorbitant attorney’s fees in their cost calculations, even though the actual fees they

divert to the lawyers are a fraction of what the TPE Defendants advertise and receive.

        125.    For example, Catalyst’s consultants calculate the cost of their “services” to cancel

a Timeshare Contract by starting with an estimate of legal fees around $100,000.00.

        126.    In comparison, the actual flat fee received by Clapp Law to assist clients referred

by Real Travel, for example, is $1,000.00.

        127.    In addition to the “cancellation” or “transfer” services sold at these in-person

presentations, the TPE Defendants often offer a new points-based timeshare membership to

“replace” the Wyndham timeshare interests that are being terminated. The points, however, are

often valued by the TPE Defendants at overinflated prices, then steeply discounted, just to

mislead the Wyndham Owners into believing that more value is gained in a package deal.



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        128.    In other words, if a Wyndham Owner purchases a new timeshare points package,

in conjunction with the cancellation services, the price of both will be greatly discounted based

on a “trade-in” allowance, “liquidation” discount, or other bogus reduction.

        129.    In this way, the sales presentation by the TPE Defendants includes fake costs and

fake discounts to deceive Wyndham Owners into paying thousands of dollars just to breach their

Timeshare Contracts, a result which the TPE Defendants mislabel as a “cancellation” or

“transfer” of the Timeshare Contracts.

        130.    Finally, the TPE Defendants usually offer their prospective customers the option

of paying with instantly-approved credit card accounts.       These transactions are difficult to

challenge when and if the Wyndham Owners eventually discover the fraudulent outcome.

                4.     Telemarketing

        131.    The TPE Defendants promote and advertise their services through telemarketing

efforts, as well.

        132.    Often the purpose of these telemarketing efforts is to convince Wyndham Owners

to attend an upcoming, nearby presentation.

        133.    For example, the TPE Defendants will call timeshare owners, including

Wyndham Owners, offering invitations to nearby presentations with a free meal.                 The

telemarketers falsely state, based on their predetermined script, that owners who attend will learn

how to get rid of their timeshare interests.

        134.    Invitations or not, each TPE Defendant has at some point operated a call center

itself, or contracted with another marketing entity, to solicit Wyndham Owners with the types of

false statements described above.




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                5.     Direct Mail Advertising

        135.    As with the telemarketing efforts, each TPE Defendant (or its agent) has mailed

misleading advertisements to Wyndham Owners.

        136.    MRC, for example, mails false advertisements to Wyndham Owners inviting them

to a nearby presentation to learn strategies to “exit” timeshare ownership.

        137.    Similarly, Catalyst (or its agent) mails invitations to Wyndham Owners

advertising a free meal and presentation during which the Wyndham Owners will learn how to

recover 100% of their original timeshare purchase price. Catalyst further promises that each

Wyndham Owner will learn how to exit his or her Timeshare Contract, even if there is still a

mortgage. These mailed invitations are false and misleading as Catalyst has no ability or service

to refund a Wyndham Owner’s purchase price or cancel an existing mortgage.

        138.    All of the TPE Defendants have engaged in mail marketing directly, or through a

marketing entity, to solicit Wyndham Owners with the types of false statements described above.

        B.      The False and Misleading Advertisements are Not Puffery

        139.    The advertisements listed in Paragraphs 95-106 and 111-138 may sometimes

hereinafter be referred to as the “CLS False and Misleading Advertisements”.

        140.    The advertisements listed in Paragraphs 95-98, 107-108, and 111-138 may

sometimes hereinafter be referred to as the “MRC False and Misleading Advertisements”.

        141.    The advertisements listed in Paragraphs 8, 95-98, and 109-138 may sometimes

hereinafter be referred to as the “Catalyst False and Misleading Advertisements”.

        142.    The CLS False and Misleading Advertisements, MRC False and Misleading

Advertisements, and Catalyst False and Misleading Advertisements may sometimes hereinafter

be collectively referred to as the “False and Misleading Advertisements”.



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        143.    The False and Misleading Advertisements are not puffery.            Thousands of

consumers have fallen prey to Defendants’ false and/or deceptively misleading advertisements

and have retained Defendants to render Defendants’ illusory services. Consumers have paid

Defendants thousands or tens of thousands of dollars each for Defendants’ ‘guaranteed’, ‘safe’,

‘proven’, and ‘effective’ ‘process’, only to have their timeshare interests terminated, cancelled,

defaulted, and/or foreclosed for non-payment. No rational consumer would pay such sums of

monies to a third-party to achieve the same results (timeshare termination, cancellation, defaults,

and/or foreclosures for non-payment) they could achieve on their own through the simple act of

not paying. Many timeshare owners, including Wyndham Owners, who pay Defendants for their

illusory services ultimately suffer the same fate as any other consumer who simply elects not to

make payments on their timeshare contracts; the only difference between many consumers who

simply stop paying, and those who retain Defendants’ illusory services, is that the latter group of

consumers lose additional thousands or tens of thousands of dollars to Defendants on top of what

they lose by defaulting on their payment obligations.

        144.    Defendants’ false and misleading advertisements cause direct harm to Wyndham.

The False and Misleading Advertisements make false and/or deceptively misleading statements

about Defendants’ products and services, and Wyndham’s products and services. Defendants

exist for the sole purpose of interfering in Wyndham’s contracts with the Wyndham Owners.

Because Wyndham Owners can be either a customer of Defendants, or a customer of Wyndham,

but not both, they are competitors and there is a direct relationship between Defendants false

and/or deceptively misleading advertising and harm to Wyndham in that the False and

Misleading Advertisements are solely designed to induce Wyndham Owners into retaining




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Defendants, who then immediately instruct those Wyndham Owners to cease making payments

to Wyndham.

VII.      WYNDHAM’S RIGHT TO INJUNCTIVE RELIEF

          145.   Defendants’ solicitation of Wyndham Owners using false and misleading

advertising and their subsequent instruction to and/or persuasion of the Wyndham Owners to

stop making payments on the Timeshare Contracts, including all mortgage, maintenance, and tax

payments associated with their timeshares, regardless of whether any valid legal basis exists for

the cancellation with Plaintiffs, is harming Plaintiffs.

          146.   Defendants continue to engage and intend to further engage in the unlawful

conduct described above.

          147.   Defendants’ actions present an immediate threat of irreparable harm to Plaintiffs,

and Plaintiffs will suffer irreparable harm if Defendants, and their agents, affiliated companies or

entities, representatives and employees, are not enjoined from this conduct.

          148.   The threat of irreparable harm is continuing because Defendants currently engage

in an ongoing business whereby they solicit Wyndham Owners using the false and misleading

advertising outlined above; and then convince the Wyndham Owners to immediately stop

paying.

          149.   Non-defaulting Wyndham Owners are also damaged because the non-payment of

taxes and maintenance fees by the defaulting Wyndham Owners force the non-defaulting

Wyndham Owners to incur higher fees/payments as a result of the deficiencies caused by

Defendants’ ongoing actions.

          150.   Plaintiffs will have imminently thousands of dollars in delinquent mortgage,

maintenance, and tax payments owed to them and will be forced to expend monies foreclosing



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on the timeshares to recoup these monies to no end as Defendants refuse to cease and desist from

this tortious conduct.

        151.    Plaintiffs have no adequate remedy at law as damages will not address the harm

Plaintiffs will suffer if Defendants are permitted to continue with this tortious conduct.

        152.    The injury and potential harm caused by Defendants’ intentional inference with

Plaintiffs’ relationships outweigh the harm, if any, that an injunction would cause to Defendants.

        153.    The issuance of the requested injunction will serve the public interest by

protecting Plaintiffs’ legitimate business interests and the interests of the Wyndham Owners, and

by restraining the unlawful, disruptive and tortious actions committed by Defendants.

        154.    Moreover, Wyndham has a right to injunctive relief under both the Lanham Act

and the Florida Deceptive and Unfair Trade Practices Act.

VIII. CAUSES OF ACTION

                                               COUNT I
                         Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)
                                     (against the CLS Defendants)

        155.    Wyndham adopts and realleges paragraphs 1-32, 38-45, 51-106, and 111-154

above as if fully set forth herein.

        156.    This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1). More

specifically, this is an action for the CLS Defendants’ false and misleading advertisements

regarding the CLS Defendants’ own products and services.

        157.    The CLS Defendants willfully, deliberately, and egregiously made false or

misleading statements of fact in their commercial advertisements and intended to mislead

consumers, specifically, the CLS Defendants’ False and Misleading Advertisements. These

statements, incorporated herein, were literally false, either on their face or by necessary

implication, as set forth herein, or materially misleading.

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        158.    The CLS Defendants’ False and Misleading Advertisements described above

were commercial speech made by a defendant acting in competition to Wyndham by trying to

interfere with Wyndham’s business relationships for the CLS Defendants’ own financial gain,

for the purpose of influencing consumers to retain the CLS Defendants’ services, and were

disseminated sufficiently to the timeshare owning public to constitute advertising or promotion

within the timeshare industry.

        159.    The CLS Defendants’ False and Misleading Advertisements either deceived or

had the capacity to deceive a substantial segment of the consuming public.

        160.    The CLS Defendants’ deception is material, in that it is likely to influence the

consumers’ decisions whether to retain Defendants’ services or to cease making payments to

Wyndham or utilize the Ovation® Program, which is available to assist Wyndham Owners who

may wish to legitimately terminate their timeshare ownership with Wyndham.

        161.    The CLS Defendants deceive the consuming public by knowingly concealing the

existence of the Ovation® Program and concealing the legitimate options available to Wyndham

Owners, and instead tell consumers that Wyndham will do nothing to help consumers end their

timeshare ownership.

        162.    The CLS Defendants’ advertised services affect interstate commerce.

        163.    The CLS Defendants are operating as competitors to Wyndham.             Once a

Wyndham Owner enters into an agreement with a CLS Defendant, the sole purpose of that

agreement is to cause that Wyndham Owner to withdraw his or her business from Wyndham,

effectively converting that individual from a Wyndham Owner to a customer of the Defendant.

        164.    Wyndham has been and continues to be injured as a result of Defendants’ false

and misleading statements.



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        165.    Pursuant to 15 U.S.C. § 1117, Wyndham is entitled to recover (i) its actual

damages sustained as a result of the false advertising, (ii) Defendants’ profits resulting from their

false advertising to Wyndham Owners, and (iii) the costs of the action.

        166.    Pursuant to 15 U.S.C. § 1116, Wyndham seeks an injunction upon such terms as

the Court may deem reasonable, to prevent further violations by Defendants of 15 U.S.C.

1125(a).

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against the CLS Defendants, jointly and severally, for damages, corrective advertising,

and disgorgement of the CLS Defendants’ profits, together with interest thereon, an award of

court costs, a determination that the instant civil action is an exceptional case and awarding

Plaintiffs their attorneys’ fees, entry of injunctive relief, and for such other and further relief as

the Court deems appropriate. Plaintiffs demand a permanent injunction be entered against the

CLS Defendants, as well as their agents, representatives, employees, affiliates, prohibiting the

CLS Defendants from publishing false and misleading statements in advertising, including but

not limited to their websites or in any other electronic or print media or materials, advertising

any ability to cancel or end Wyndham Owners’ timeshare interests.

                                            COUNT II
                      Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)
                                  (against the MRC Defendants)

        167.    Wyndham adopts and realleges paragraphs 1-32, 46-49, 51-98, 107-108, and 111-

154 above as if fully set forth herein.

        168.    This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1). More

specifically, this is an action for the MRC Defendants’ false and misleading advertisements

regarding the MRC Defendants’ own products and services.



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        169.    The MRC Defendants willfully, deliberately, and egregiously made false or

misleading statements of fact in their commercial advertisements and intended to mislead

consumers, specifically, the MRC Defendants’ False and Misleading Advertisements. These

statements, incorporated herein, were literally false, either on their face or by necessary

implication, as set forth herein, or materially misleading.

        170.    The MRC Defendants’ False and Misleading Advertisements described above

were commercial speech made by a defendant acting in competition to Wyndham by trying to

interfere with Wyndham’s business relationships for the MRC Defendants’ own financial gain,

for the purpose of influencing consumers to retain the MRC Defendants’ services, and were

disseminated sufficiently to the timeshare owning public to constitute advertising or promotion

within the timeshare industry.

        171.    The MRC Defendants’ False and Misleading Advertisements either deceived or

had the capacity to deceive a substantial segment of the consuming public.

        172.    The MRC Defendants’ deception is material, in that it is likely to influence the

consumers’ decisions whether to retain Defendants’ services or to cease making payments to

Wyndham or utilize the Ovation® Program, which is available to assist Wyndham Owners who

may wish to legitimately terminate their timeshare ownership with Wyndham.

        173.    The MRC Defendants deceive the consuming public by knowingly concealing the

existence of the Ovation® Program and concealing the legitimate options available to Wyndham

Owners, and instead tell consumers that Wyndham will do nothing to help consumers end their

timeshare ownership.

        174.    The MRC Defendants’ advertised services affect interstate commerce.




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        175.    The MRC Defendants are operating as competitors to Wyndham.                 Once a

Wyndham Owner enters into an agreement with a MRC Defendant, the sole purpose of that

agreement is to cause that Wyndham Owner to withdraw his or her business from Wyndham,

effectively converting that individual from a Wyndham Owner to a customer of the Defendant.

        176.    Wyndham has been and continues to be injured as a result of Defendants’ false

and misleading statements.

        177.    Pursuant to 15 U.S.C. § 1117, Wyndham is entitled to recover (i) its actual

damages sustained as a result of the false advertising, (ii) Defendants’ profits resulting from their

false advertising to Wyndham Owners, and (iii) the costs of the action.

        178.    Pursuant to 15 U.S.C. § 1116, Wyndham seeks an injunction upon such terms as

the Court may deem reasonable, to prevent further violations by Defendants of 15 U.S.C.

1125(a).

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against the MRC Defendants, jointly and severally, for damages, corrective

advertising, and disgorgement of the MRC Defendants’ profits, together with interest thereon, an

award of court costs, a determination that the instant civil action is an exceptional case and

awarding Plaintiffs their attorneys’ fees, entry of injunctive relief, and for such other and further

relief as the Court deems appropriate. Plaintiffs demand a permanent injunction be entered

against the MRC Defendants, as well as their agents, representatives, employees, affiliates,

prohibiting the MRC Defendants from publishing false and misleading statements in advertising,

including but not limited to their websites or in any other electronic or print media or materials,

advertising any ability to cancel or end Wyndham Owners’ timeshare interests.

                                         COUNT III
                     Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)


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                                          (against Catalyst)

        179.    Wyndham adopts and realleges paragraphs 1-32, 50-98, and 109-154 above as if

fully set forth herein.

        180.    This is an action for violation of the Lanham Act, 15 U.S.C. § 1125(a)(1). More

specifically, this is an action for Catalyst’s false and misleading advertisements regarding

Catalyst’s own products and services.

        181.    Catalyst willfully, deliberately, and egregiously made false or misleading

statements of fact in their commercial advertisements and intended to mislead consumers,

specifically, the Catalyst False and Misleading Advertisements. These statements, incorporated

herein, were literally false, either on their face or by necessary implication, as set forth herein, or

materially misleading.

        182.    The Catalyst False and Misleading Advertisements described above were

commercial speech made by a defendant acting in competition to Wyndham by trying to interfere

with Wyndham’s business relationships for Catalyst’s own financial gain, for the purpose of

influencing consumers to retain Catalyst’s services, and were disseminated sufficiently to the

timeshare owning public to constitute advertising or promotion within the timeshare industry.

        183.    The Catalyst False and Misleading Advertisements either deceived or had the

capacity to deceive a substantial segment of the consuming public.

        184.    Catalyst’s deception is material, in that it is likely to influence the consumers’

decisions whether to retain Defendants’ services or to cease making payments to Wyndham or

utilize the Ovation® Program, which is available to assist Wyndham Owners who may wish to

legitimately terminate their timeshare ownership with Wyndham.




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        185.    Catalyst deceives the consuming public by knowingly concealing the existence of

the Ovation® Program and concealing the legitimate options available to Wyndham Owners, and

instead tell consumers that Wyndham will do nothing to help consumers end their timeshare

ownership.

        186.    Catalyst’s advertised services affect interstate commerce.

        187.    Catalyst is operating as a competitor to Wyndham. Once a Wyndham Owner

enters into an agreement with Catalyst, the sole purpose of that agreement is to cause that

Wyndham Owner to withdraw his or her business from Wyndham, effectively converting that

individual from a Wyndham Owner to a customer of the Defendant.

        188.    Wyndham has been and continues to be injured as a result of Defendants’ false

and misleading statements.

        189.    Pursuant to 15 U.S.C. § 1117, Wyndham is entitled to recover (i) its actual

damages sustained as a result of the false advertising, (ii) Defendants’ profits resulting from their

false advertising to Wyndham Owners, and (iii) the costs of the action.

        190.    Pursuant to 15 U.S.C. § 1116, Wyndham seeks an injunction upon such terms as

the Court may deem reasonable, to prevent further violations by Defendants of 15 U.S.C.

1125(a).

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against Catalyst for damages, corrective advertising, and disgorgement of Catalyst’s

profits, together with interest thereon, an award of court costs, a determination that the instant

civil action is an exceptional case and awarding Plaintiffs their attorneys’ fees, entry of

injunctive relief, and for such other and further relief as the Court deems appropriate. Plaintiffs

demand a permanent injunction be entered against Catalyst, as well as their agents,



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representatives, employees, affiliates, prohibiting Catalyst from publishing false and misleading

statements in advertising, including but not limited to their websites or in any other electronic or

print media or materials, advertising any ability to cancel or end Wyndham Owners’ timeshare

interests.

                                       COUNT IV
   Contributory False Advertising in Violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)
                        (against the Montgomery Law Defendants)

          191.   Wyndham adopts and realleges paragraphs 1-154 above as if fully set forth

herein.

          192.   This is an action for a contributory violation of the Lanham Act, 15 U.S.C. §

1125(a)(1).

          193.   The TPE Defendants willfully, deliberately, and egregiously made false or

misleading statements of fact in their commercial advertisements and intended to mislead

consumers. The statements described above and incorporated herein were literally false, either

on their face or by necessary implication, as set forth herein.

          194.   Wyndham has been and continues to be injured as a result of the TPE Defendants

false and misleading statements.

          195.   The Montgomery Law Defendants have contributed and continue to contribute to

the TPE Defendants’ false advertising by knowingly inducing or causing the conduct, or by

materially participating in it and/or accepting the benefits of it.

          196.   The Montgomery Law Defendants explicitly or implicitly encourages the false

advertising because it accepts legal representation of the consumers deceived by the false

advertising. Without the Montgomery Law Defendants’ willingness to accept those consumers

as clients, the TPE Defendants could not advertise what they do.



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        197.    The TPE Defendants false advertisements are public, serious, and widespread,

and the Clapp Defendants have full knowledge of such advertising and condones it.

        198.    More than that, the Montgomery Law Defendants financially gain from the false

advertisements in the form of client referrals and fee splitting with the TPE Defendants.

        199.    In other words, the Montgomery Law Defendants’ business derives much, if not

all, of its revenue from the consumers solicited through the TPE Defendants false advertising,

more specifically, the False and Misleading Advertisements.

        200.    Pursuant to 15 U.S.C. § 1117, Wyndham is entitled to recover (i) its actual

damages sustained as a result of the false advertising by the TPE Defendants, (ii) the

Montgomery Law Defendants’ profits resulting from the TPE Defendants’ false advertising to

Wyndham Owners, and (iii) the costs of the action.

        201.    Pursuant to 15 U.S.C. § 1116, Wyndham seeks an injunction upon such terms as

the Court may deem reasonable, to prevent further contributory violations by the Clapp

Defendants of 15 U.S.C. 1125(a).

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against the Montgomery Law Defendants, jointly and severally, for damages,

corrective advertising, and disgorgement of the Montgomery Law Defendants’ profits, together

with interest thereon, an award of court costs, a determination that the instant civil action is an

exceptional case and awarding Plaintiffs their attorneys’ fees, entry of injunctive relief, and for

such other and further relief as the Court deems appropriate. Plaintiffs demand a permanent

injunction be entered against the Montgomery Law Defendants, as well as their agents,

representatives, employees, affiliates, prohibiting the Montgomery Law Defendants from further

contributing to the False and Misleading Advertising, including accepting any clients solicited by



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the TPE Defendants through the false advertisement of any ability to cancel or end Wyndham

Owners’ timeshare interests.

                                              COUNT V
                           Tortious Interference with Contractual Relations
                     (against the CLS Defendants and Montgomery Law Defendants)

        202.     Wyndham adopts and realleges paragraphs 1-45, 51-98, and 111-154 above as if

fully set forth herein.

        203.     This is a cause of action for tortious interference with contractual relations.

        204.     Wyndham has contractual relationships with its timeshare owners.

        205.     The CLS Defendants and Montgomery Law Defendants have actual, constructive,

and/or specific knowledge of the contractual relationships between Wyndham and the Wyndham

Owners. The very fact that Plaintiffs have a business relationship with the Wyndham Owners is

the basis upon which the CLS Defendants and Montgomery Law Defendants sought to establish

a relationship with the Wyndham Owners.               Indeed, if it were not for the existence of the

contractual relationships between Wyndham and the Wyndham Owners, the CLS Defendants

and Montgomery Law Defendants would have no reason to exist.

        206.     The CLS Defendants and Montgomery Law Defendants, through various inter-

related entities as described hereinabove, have successfully solicited Wyndham Owners and

caused or induced them to breach and/or terminate their contractual relationships with Plaintiffs

and, specifically, with WVR, WRDC, and/or SV.

        207.     In particular, the CLS Defendants and Montgomery Law Defendants have

intentionally procured the breach of Wyndham’s contractual relationships by soliciting

identifiable Wyndham Owners3 and persuading them to hire the CLS Defendants and


3
 The specific Wyndham Owners and Timeshare Contracts are identifiable. However, due to the substantial volume
and length of said documents it is not practical to attach all of them to this Complaint as they would make the

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Montgomery Law Defendants to help “cancel” (in reality, breach) their Timeshare Contracts.

The CLS Defendants and Montgomery Law Defendants also procure breaches by directly

instructing Wyndham Owners to stop paying their timeshare loans and maintenance fees and/or

engaging in fraudulent transfers.

        208.    If Wyndham Owners knew the truth about the CLS Defendants’ and Montgomery

Law Defendants’ illusory and fraudulent services or about how Defendants’ actions would

adversely impact them, they would not pay exorbitant fees to the CLS Defendants and

Montgomery Law Defendants nor unlawfully terminate (through breach resulting in foreclosure)

their timeshare interests.

        209.    The CLS Defendants and Montgomery Law Defendants have utilized improper,

fraudulent and/or illegal means to interfere with Plaintiffs’ contractual relations.

        210.    The CLS Defendants’ and Montgomery Law Defendants’ actions were done with

an improper motive and not made in good faith, but rather were made with the knowledge and

predominant purpose to injure Plaintiffs or with reckless disregard for the attendant

consequences naturally, directly, and proximately resulting from the CLS Defendants’ and

Montgomery Law Defendants’ actions and without reasonable grounds for the CLS Defendants

and Montgomery Law Defendants to believe that their actions were justified and proper.

        211.    As a direct and proximate result of the CLS Defendants’ and Montgomery Law

Defendants’ intentional misconduct, Wyndham Owners have terminated, or have baselessly

sought to terminate, their contractual relationships with Plaintiffs and, more specifically, WVR,

WRDC, and/or SV, before the expiration of the terms of those contracts. These terminations,


Complaint likely thousands, if not tens-of-thousands of pages long. Wyndham can provide the identities and
documents in discovery. Moreover, Defendants are already aware of the identities of these Wyndham Owners and
Timeshare Contracts as Defendants sent Wyndham letters related to these Wyndham Owners and Timeshare
Contracts.


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and attempted terminations, also interfere with Wyndham’s ability to enter into subsequent

transactions with those same Wyndham Owners.

        212.    The CLS Defendants and Montgomery Law Defendants did not and do not have

any justification or privilege in procuring the breach of such contractual relationships, as the

CLS Defendants and Montgomery Law Defendants are strangers to the contractual relationships

between Wyndham and its Owners, and their interference with Plaintiffs’ business is willful and

malicious.

        213.    Furthermore, the CLS Defendants and Montgomery Law Defendants profit

greatly by accepting significant fees from Wyndham Owners then performing little or no actual

legal work on their behalf to “cancel” their timeshare contracts. The CLS Defendants and

Montgomery Law Defendants are not privileged to interfere with Wyndham’s contractual

relationships because the CLS Defendants and Montgomery Law Defendants act in their own

personal interests and without an honest belief that the strategy of defaulting on the Timeshare

Contracts is justified by the exorbitant fees received by them or even the best course of action to

terminate the Timeshare Contract, considering the Owner could lawfully terminate his or her

contract for free, or at a much lower cost, by appealing directly to Wyndham or utilizing the

Ovation® program.      Furthermore, the CLS Defendants and Montgomery Law Defendants

undermine the Montgomery Law Defendants’ so-called lawyer privilege to recommend to its

clients that the Timeshare Contract may be breached, by rarely filing lawsuits on behalf of those

Wyndham Owners for the equitable rescission of those Timeshare Contracts.               The CLS

Defendants’ and Montgomery Law Defendants’ across-the-board strategy to induce its clients to

breach their Timeshare Contracts is not sound, individualized legal advice done in the course of




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representation of any clients, but rather an overall business decision of the law firm itself that is

not privileged.

        214.      As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

        215.      Plaintiffs are entitled to damages against the CLS Defendants and Montgomery

Law Defendants jointly and severally.

        216.      The CLS Defendants’ and Montgomery Law Defendants’ ongoing conduct has

caused and, if not permanently enjoined, will continue to cause irreparable harm to Wyndham in

the disruption of customer and other contractual relations; therefore, Wyndham does not have an

adequate remedy at law.

        217.      The CLS Defendants’ and Montgomery Law Defendants’ conduct is intentional

and willful and entitles Plaintiffs to an award of punitive damages.

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against the CLS Defendants and Montgomery Law Defendants, jointly and severally,

for actual damages, together with interest thereon, punitive damages, an award of court costs,

entry of injunctive relief, and for such other and further relief as the Court deems appropriate.

Plaintiffs demand a permanent injunction be entered against the CLS Defendants and

Montgomery Law Defendants and their agents, representatives, employees, and affiliates,

prohibiting the CLS Defendants and Montgomery Law Defendants from contacting Wyndham

Owners and/or otherwise interfering with Plaintiffs' contractual relationships with such

Wyndham Owners.

                                          COUNT VI
                        Tortious Interference with Contractual Relations
                  (against the MRC Defendants and Montgomery Law Defendants)




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        218.     Wyndham adopts and realleges paragraphs 1-37, 46-49, 51-98, 107-108, and 111-

154 above as if fully set forth herein.

        219.     This is a cause of action for tortious interference with contractual relations.

        220.     Wyndham has contractual relationships with its timeshare owners.

        221.     The MRC Defendants and Montgomery Law Defendants have actual,

constructive, and/or specific knowledge of the contractual relationships between Wyndham and

the Wyndham Owners. The very fact that Plaintiffs have a business relationship with the

Wyndham Owners is the basis upon which the MRC Defendants and Montgomery Law

Defendants sought to establish a relationship with the Wyndham Owners. Indeed, if it were not

for the existence of the contractual relationships between Wyndham and the Wyndham Owners,

the MRC Defendants and Montgomery Law Defendants would have no reason to exist.

        222.     The MRC Defendants and Montgomery Law Defendants, through various inter-

related entities as described hereinabove, have successfully solicited Wyndham Owners and

caused or induced them to breach and/or terminate their contractual relationships with Plaintiffs

and, specifically, with WVR, WRDC, and/or SV.

        223.     In particular, the MRC Defendants and Montgomery Law Defendants have

intentionally procured the breach of Wyndham’s contractual relationships by soliciting

identifiable Wyndham Owners4 and persuading them to hire the MRC Defendants and

Montgomery Law Defendants to help “cancel” (in reality, breach) their Timeshare Contracts.

The MRC Defendants and Montgomery Law Defendants also procure breaches by directly


4
 The specific Wyndham Owners and Timeshare Contracts are identifiable. However, due to the substantial volume
and length of said documents it is not practical to attach all of them to this Complaint as they would make the
Complaint likely thousands, if not tens-of-thousands of pages long. Wyndham can provide the identities and
documents in discovery. Moreover, Defendants are already aware of the identities of these Wyndham Owners and
Timeshare Contracts as Defendants sent Wyndham letters related to these Wyndham Owners and Timeshare
Contracts.


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instructing Wyndham Owners to stop paying their timeshare loans and maintenance fees and/or

engaging in fraudulent transfers.

        224.    If Wyndham Owners knew the truth about the MRC Defendants’ and

Montgomery Law Defendants’ illusory and fraudulent services or about how Defendants’ actions

would adversely impact them, they would not pay exorbitant fees to the MRC Defendants and

Montgomery Law Defendants nor unlawfully terminate (through breach resulting in foreclosure)

their timeshare interests.

        225.    The MRC Defendants and Montgomery Law Defendants have utilized improper,

fraudulent and/or illegal means to interfere with Plaintiffs’ contractual relations.

        226.    The MRC Defendants’ and Montgomery Law Defendants’ actions were done with

an improper motive and not made in good faith, but rather were made with the knowledge and

predominant purpose to injure Plaintiffs or with reckless disregard for the attendant

consequences naturally, directly, and proximately resulting from the MRC Defendants’ and

Montgomery Law Defendants’ actions and without reasonable grounds for the MRC Defendants

and Montgomery Law Defendants to believe that their actions were justified and proper.

        227.    As a direct and proximate result of the MRC Defendants’ and Montgomery Law

Defendants’ intentional misconduct, Wyndham Owners have terminated, or have baselessly

sought to terminate, their contractual relationships with Plaintiffs and, more specifically, WVR,

WRDC, and/or SV, before the expiration of the terms of those contracts. These terminations,

and attempted terminations, also interfere with Wyndham’s ability to enter into subsequent

transactions with those same Wyndham Owners.

        228.    The MRC Defendants and Montgomery Law Defendants did not and do not have

any justification or privilege in procuring the breach of such contractual relationships, as the



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MRC Defendants and Montgomery Law Defendants are strangers to the contractual relationships

between Wyndham and its Owners, and their interference with Plaintiffs’ business is willful and

malicious.

        229.      Furthermore, the MRC Defendants and Montgomery Law Defendants profit

greatly by accepting significant fees from Wyndham Owners then performing little or no actual

legal work on their behalf to “cancel” their timeshare contracts. The MRC Defendants and

Montgomery Law Defendants are not privileged to interfere with Wyndham’s contractual

relationships because the MRC Defendants and Montgomery Law Defendants act in their own

personal interests and without an honest belief that the strategy of defaulting on the Timeshare

Contracts is justified by the exorbitant fees received by them or even the best course of action to

terminate the Timeshare Contract, considering the Owner could lawfully terminate his or her

contract for free, or at a much lower cost, by appealing directly to Wyndham or utilizing the

Ovation® program.        Furthermore, the MRC Defendants and Montgomery Law Defendants

undermine the Montgomery Law Defendants’ so-called lawyer privilege to recommend to its

clients that the Timeshare Contract may be breached, by rarely filing lawsuits on behalf of those

Wyndham Owners for the equitable rescission of those Timeshare Contracts.                 The MRC

Defendants’ and Montgomery Law Defendants’ across-the-board strategy to induce its clients to

breach their Timeshare Contracts is not sound, individualized legal advice done in the course of

representation of any clients, but rather an overall business decision of the law firm itself that is

not privileged.

        230.      As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

        231.      Plaintiffs are entitled to damages against the MRC Defendants and Montgomery

Law Defendants jointly and severally.



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        232.    The MRC Defendants’ and Montgomery Law Defendants’ ongoing conduct has

caused and, if not permanently enjoined, will continue to cause irreparable harm to Wyndham in

the disruption of customer and other contractual relations; therefore, Wyndham does not have an

adequate remedy at law.

        233.    The MRC Defendants’ and Montgomery Law Defendants’ conduct is intentional

and willful and entitles Plaintiffs to an award of punitive damages.

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against the MRC Defendants and Montgomery Law Defendants, jointly and severally,

for actual damages, together with interest thereon, punitive damages, an award of court costs,

entry of injunctive relief, and for such other and further relief as the Court deems appropriate.

Plaintiffs demand a permanent injunction be entered against the MRC Defendants and

Montgomery Law Defendants and their agents, representatives, employees, and affiliates,

prohibiting the MRC Defendants and Montgomery Law Defendants from contacting Wyndham

Owners and/or otherwise interfering with Plaintiffs' contractual relationships with such

Wyndham Owners.

                                             COUNT VII
                         Tortious Interference with Contractual Relations
                         (against Catalyst and Montgomery Law Defendants)

        234.    Wyndham adopts and realleges paragraphs 1-37, 50, 51-98, and 109-154 above as

if fully set forth herein.

        235.    This is a cause of action for tortious interference with contractual relations.

        236.    Wyndham has contractual relationships with its timeshare owners.

        237.    Catalyst and the Montgomery Law Defendants have actual, constructive, and/or

specific knowledge of the contractual relationships between Wyndham and the Wyndham



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Owners. The very fact that Plaintiffs have a business relationship with the Wyndham Owners is

the basis upon which Catalyst and the Montgomery Law Defendants sought to establish a

relationship with the Wyndham Owners.           Indeed, if it were not for the existence of the

contractual relationships between Wyndham and the Wyndham Owners, Catalyst and the

Montgomery Law Defendants would have no reason to exist.

        238.    Catalyst and the Montgomery Law Defendants, through various inter-related

entities as described hereinabove, have successfully solicited Wyndham Owners and caused or

induced them to breach and/or terminate their contractual relationships with Plaintiffs and,

specifically, with WVR, WRDC, and/or SV.

        239.    In particular, Catalyst and the Montgomery Law Defendants have intentionally

procured the breach of Wyndham’s contractual relationships by soliciting Wyndham Owners and

persuading them to hire Catalyst and the Montgomery Law Defendants to help “cancel” (in

reality, breach) their Timeshare Contracts. Catalyst and the Montgomery Law Defendants also

procure breaches by directly instructing Wyndham Owners to stop paying their timeshare loans

and maintenance fees and/or engaging in fraudulent transfers.

        240.    If Wyndham Owners knew the truth about the Catalyst’s and the Montgomery

Law Defendants’ illusory and fraudulent services or about how Defendants’ actions would

adversely impact them, they would not pay exorbitant fees to Catalyst and the Montgomery Law

Defendants nor unlawfully terminate (through breach resulting in foreclosure) their timeshare

interests.

        241.    Catalyst and the Montgomery Law Defendants have utilized improper, fraudulent

and/or illegal means to interfere with Plaintiffs’ contractual relations.




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        242.    Catalyst’s and the Montgomery Law Defendants’ actions were done with an

improper motive and not made in good faith, but rather were made with the knowledge and

predominant purpose to injure Plaintiffs or with reckless disregard for the attendant

consequences naturally, directly, and proximately resulting from Catalyst’s and the Montgomery

Law Defendants’ actions and without reasonable grounds for Catalyst and the Montgomery Law

Defendants to believe that their actions were justified and proper.

        243.    As a direct and proximate result of Catalyst’s and the Montgomery Law

Defendants’ intentional misconduct, Wyndham Owners have terminated, or have baselessly

sought to terminate, their contractual relationships with Plaintiffs and, more specifically, WVR,

WRDC, and/or SV, before the expiration of the terms of those contracts. These terminations,

and attempted terminations, also interfere with Wyndham’s ability to enter into subsequent

transactions with those same Wyndham Owners.

        244.    Catalyst and the Montgomery Law Defendants did not and do not have any

justification or privilege in procuring the breach of such contractual relationships, as Catalyst and

the Montgomery Law Defendants are strangers to the contractual relationships between

Wyndham and its Owners, and their interference with Plaintiffs’ business is willful and

malicious.

        245.    Furthermore, Catalyst and the Montgomery Law Defendants profit greatly by

accepting significant fees from Wyndham Owners then performing little or no actual legal work

on their behalf to “cancel” their timeshare contracts.       Catalyst and the Montgomery Law

Defendants are not privileged to interfere with Wyndham’s contractual relationships because

Catalyst and the Montgomery Law Defendants act in their own personal interests and without an

honest belief that the strategy of defaulting on the Timeshare Contracts is justified by the



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exorbitant fees received by them or even the best course of action to terminate the Timeshare

Contract, considering the Owner could lawfully terminate his or her contract for free, or at a

much lower cost, by appealing directly to Wyndham or utilizing the Ovation® program.

Furthermore, Catalyst and the Montgomery Law Defendants undermine the Montgomery Law

Defendants’ so-called lawyer privilege to recommend to its clients that the Timeshare Contract

may be breached, by rarely filing lawsuits on behalf of those Wyndham Owners for the equitable

rescission of those Timeshare Contracts. Catalyst’s and the Montgomery Law Defendants’

across-the-board strategy to induce its clients to breach their Timeshare Contracts is not sound,

individualized legal advice done in the course of representation of any clients, but rather an

overall business decision of the law firm itself that is not privileged.

        246.    As a direct and proximate result of the foregoing, Plaintiffs suffered damages.

        247.    Plaintiffs are entitled to damages against Catalyst and the Montgomery Law

Defendants jointly and severally.

        248.    Catalyst’s and the Montgomery Law Defendants’ ongoing conduct has caused

and, if not permanently enjoined, will continue to cause irreparable harm to Wyndham in the

disruption of customer and other contractual relations; therefore, Wyndham does not have an

adequate remedy at law.

        249.    Catalyst’s and the Montgomery Law Defendants’ conduct is intentional and

willful and entitles Plaintiffs to an award of punitive damages.

        WHEREFORE, Plaintiffs respectfully request the Court enter final judgment in their

favor and against Catalyst and the Montgomery Law Defendants, jointly and severally, for actual

damages, together with interest thereon, punitive damages, an award of court costs, entry of

injunctive relief, and for such other and further relief as the Court deems appropriate. Plaintiffs



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demand a permanent injunction be entered against Catalyst and the Montgomery Law

Defendants and their agents, representatives, employees, and affiliates, prohibiting Catalyst and

the Montgomery Law Defendants from contacting Wyndham Owners and/or otherwise

interfering with Plaintiffs' contractual relationships with such Wyndham Owners.




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                                           COUNT VIII
                                         Civil Conspiracy
                                      (against all Defendants)

        250.    Wyndham adopts and realleges paragraphs 1 through 154 above as if fully set

forth herein.

        251.    This is a cause of action for civil conspiracy to interfere with existing contractual

relations and for damages in excess of $75,000.00, exclusive of interest, attorney's fees and costs,

and is within this Court’s jurisdiction.

        252.    Defendants are parties to a civil conspiracy. Defendants had a common design,

each having the intent and knowledge of the others’ intent to accomplish by concerted action

unlawful purposes and/or lawful purposes by unlawful means.

        253.    Defendants conspired to do an unlawful act to cause Plaintiffs harm. Defendants

acted in concert with a common design, scheme, or plan to bring about a desired result and/or

accomplish a preconceived plan for financial gain to the detriment of Plaintiffs through unlawful

and/or illegal means of interfering with Plaintiffs’ contractual relations with it owners and

collectively causing its owners to breach their Timeshare Contracts with Plaintiffs.

        254.    Each Defendant committed or engaged in an overt act in furtherance of their

unlawful conspiracy to interfere with Plaintiffs’ contractual relations or to induce Plaintiffs’

customers to breach their Timeshare Contracts.

        255.    Defendants conspired to interfere with Plaintiffs’ contractual relationships with

the Wyndham Owners and/or were directed by other Defendants to interfere with Plaintiffs'

contractual relationships with the Wyndham Owners.




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        256.    As a direct and proximate result of Defendants’ civil conspiracy, Wyndham

Owners have unlawfully terminated, or have sought to terminate, their Timeshare Contracts with

Plaintiffs before the expiration of the terms of those Contracts.

        257.    Defendants did not have any justification or privilege in procuring the breach of

such Timeshare Contracts. As a direct and proximate result of the foregoing, Plaintiffs suffered

damages.

        258.    Defendants, acting in concert, have engaged in an unlawful scheme to take

advantage of timeshare owners and cause Wyndham and its business millions of dollars in actual

damages.

        259.    Defendants are jointly and severally liable to Plaintiffs for damages.

        260.    Defendants maliciously and purposefully act, using shell companies and

numerous websites, as well as lawyers who only advertise other fields of legal practice, to hide

their misconduct, and to divert and abscond with funds from Wyndham Owners and interfere

with the contractual relationships between Wyndham Owners and Wyndham.

        261.    Defendants acted willfully and with malice in taking these actions.

        262.    Defendants’ conduct therefore entitles Plaintiffs to an award of punitive damages.

        WHEREFORE, Plaintiffs request the Court enter final judgment in their favor and

against Defendants, jointly and severally, for actual damages, together with interest thereon,

punitive damages, an award of court costs, entry of injunctive relief, and for such other and

further relief as the Court deems appropriate




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                                           COUNT IX
               Violations of Florida’s Deceptive and Unfair Trade Practices Act
                                     (against all Defendants)

        263.    Wyndham adopts and realleges paragraphs 1 through 154 above as if fully set

forth herein

        264.    This is a cause of action for damages and permanent injunctive relief under

Section 501.211, Fla. Stat.

        265.    Wyndham is a legitimate business enterprise under the Florida Deceptive and

Unfair Trade Practices Act (“FDUTPA”).

        266.    Wyndham Owners are consumers for purposes of FDUTPA.

        267.    Defendants are engaged in trade or commerce as those terms are defined by

FDUTPA.

        268.    Defendants are engaged in deceptive and unfair practices, including luring

Wyndham Owners into procuring Defendants’ illusory services with false advertising and using

misrepresentations to convince Wyndham consumers to pay substantial fees to “cancel” their

contracts with Wyndham, when, in many instances, a lawful termination is only available to

consumers directly from Wyndham, a party to the Timeshare Contracts, through the Ovation®

Program or otherwise.

        269.    Section 501.211(1), Fla. Stat., “permits a claim for injunctive relief by ‘anyone

aggrieved’ by an unfair or deceptive act, which has occurred, is now occurring, or is likely to

occur in the future.” Wyndham Vacation Resorts, Inc. v. Timeshare Direct, Inc., 123 So.3d 1149,

1152 (Fla. 5th DCA 2012).

        270.    Under Section 501.211(1), Fla. Stat., “anyone aggrieved” includes a broader class

of complainants than merely consumers; the scope of the injunctive remedy is also greater than



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the actual damage remedy under § 510.211(2), Fla. Stat. Id.; see also Kinger v. Weekly World

News, Inc., 747 F. Supp. 1477, 1480 (S.D. Fla. 1990).

        271.    Wyndham is a party aggrieved by Defendants’ violation of FDUTPA, Section

501.204(1), Fla. Stat.

        272.    As a result of Defendants’ actions, Wyndham has suffered financial loss.

        273.    Wyndham’s losses will increase unless Defendants are permanently enjoined

from continuing their deceptive and unfair business practices.

        274.    Wyndham is entitled to recover its attorney’s fees and costs from Defendants

under Sections 501.2105 and 501.211, Fla. Stat.

        WHEREFORE, Plaintiffs respectfully request the Court enter injunctive relief against all

Defendants, award Plaintiffs their costs, including their reasonable attorney’s fees, and for such

other and further relief as the Court deems appropriate.




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Dated: December 10, 2018

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